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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                          Criminal No. 21-cr-108 (PAM/TNL) (3)


UNITED STATES OF AMERICA,                )
                                         )
                            Plaintiff,   )   DEFENDANT KUENG’S MOTION FOR
vs.                                      )       A SENTENCING VARIANCE
                                         )
J. ALEXANDER KUENG,                      )
                                         )
                                         )
                           Defendant.    )
                                         )


        Mr. Kueng respectfully moves this Court for a sentence below the guideline

range in the event that this Court disagrees with the guideline range outlined in

Mr. Kueng’s position on sentencing. (Docket 380). In support of this motion Mr.

Kueng relies on the points and arguments found in his position on sentencing.

(Id.)

                                             Respectfully submitted,

                                             /s/ Thomas C. Plunkett
Dated:    June 29, 2022
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